                 Case 1:20-cv-02295-EGS Document 76-3 Filed 11/04/20 Page 1 of 1


Cholera, Kuntal (CIV)

From:                              Garrett, Lisse - Southern Area, TX <Lisse.A.Garrett@usps.gov>
Sent:                              Wednesday, November 4, 2020 3:22 PM
To:                                Curtis, Angela H - Eastern Area, PA
Cc:                                Costello, Timothy R - Southern Area, TX;

Subject:                           RE: Urgent Messaging for Distribution


Ma’am – I have distributed to all Texas District Managers, Executive Postmasters, and Managers Operations Programs
Support. I will call each district and provide further guidance. I will advise once I have received confirmation from each
district.

From: Curtis, Angela H - Eastern Area, PA
Sent: Wednesday, November 4, 2020 2:20 PM
To: Garrett, Lisse - Southern Area, TX <Lisse.A.Garrett@usps.gov>
Cc: Costello, Timothy R - Southern Area, TX <timothy.r.costello@usps.gov>;

Subject: RE: Urgent Messaging for Distribution

As discussed-all manager distribution lists in Texas! Please confirm, thanks.

From: Curtis, Angela H - Eastern Area, PA
Sent: Wednesday, November 4, 2020 3:14 PM
To: Garrett, Lisse - Southern Area, TX <Lisse.A.Fish@usps.gov>
Cc: Costello, Timothy R - South Florida District, FL <timothy.r.costello@usps.gov>;

Subject: Urgent Messaging for Distribution
Importance: High

Good afternoon

Please forward to all Postmasters, Stations Managers, and all operations managers ASAP.

As a reminder please ensure that all ballots in your office’s possession are delivered to appropriate election officials by
no later than 5 pm today. Additionally any local ballots delivered to the post office yesterday or earlier should bypass
the ordinary processing system and sent for delivery to local election offices for receipt by no later than 5:00 PM local.

This email reminder is in accordance with a court order.

Thanks

Angela Curtis
Vice President Retail and Post Office Operations




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